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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
       v.                                      :       Case No. 21-CR-507 (PLF)
                                               :
                                               :
STEPHANIE MARYLOU BAEZ                         :
                                               :
       Defendant.                              :

                              JOINT MOTION TO RESCUDULE
                              PRETRIAL HEARING AND TRIAL

       The United States of America, through counsel, and defendant Stephanie Marylou Baez,

through counsel, hereby submit a Joint Motion to Reschedule the Trial and state as follows:

   1. The defendant in this case is charged by a four-count Information with violations of

18 U.S.C. § 1752(a)(1) (Entering and Remaining in a Restricted Building); 18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a Restricted Building); 40 U.S.C. § 5104(e)(2)(D) (Violent

Entry and Disorderly Conduct in a Capitol Building); and 40 U.S.C. § 5104(e)(2)(G) (Parading,

Demonstrating, or Picketing in a Capitol Building).

   2. The government has provided defendant discovery. The government has also provided

defense counsel with access to a tour of the crime scene, directed by the United States Capitol

Police. Defense counsel has received the discovery and continues to review it personally and with

their client. At present, there are no discovery disputes or other issues that require the intervention

of the Court.

   3. The parties remain engaged in their respective pretrial preparations. The trial is currently

set to commence Monday, May 8, 2023, at 10:00 a.m. ECF No. 36, p. 6. The pretrial motions

hearing date, previously set for March 9, 2023, was vacated, and a new date is currently pending.
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      4. The government has conferred with defense counsel and the parties jointly represent that

we would be available to proceed with a bench trial on the following dates:

         June 26-30, 2023
         July 26-28, 2023
          July 31-August 4, 2023 (less preferred)

      5. The government will continue to confer with defense counsel to propose dates for the

recently vacated Pretrial Motions hearing.


          Respectfully submitted,


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